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1    MCGREGOR W. SCOTT
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2    Russell L. Carlberg
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2748
5

6

7                      IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )            CASE NO. 2:08-MJ00304 DAD
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )            STIPULATION AND
                                   )            ORDER TO CONTINUE PRELIMINARY
13   TRICIA ANN ADAMS              )            HEARING
                                   )
14                                 )
                    Defendant.     )
15   ______________________________)
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17
          The parties request that the preliminary hearing in this
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     case, currently scheduled for September 16, 2008 at 2 p.m. before
19
     U.S. Magistrate Judge Gregory G. Hollows, be continued to
20
     September 25, 2008 at 2 p.m., as to defendant Tricia Ann Adams
21
     only.   Ms. Adams is not in custody and the parties request more
22
     time for additional investigation.
23
                                               Respectfully Submitted,
24
                                               McGREGOR W. SCOTT
25                                             United States Attorney
26

27   DATE: September 17, 2008           By:     /s/ Russell L. Carlberg
                                               Russell L. Carlberg
28                                             Assistant U.S. Attorney

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1

2    DATE: September 17, 2008                 /s/ Russell Carlberg for*
                                             Dina Santos
3                                            Attorney for Defendant
4
                                             SO ORDERED.
5

6    DATE:09/17/08                           /s/ Gregory G. Hollows
                                             ______________________________
7                                            HON. Gregory G. Hollows
                                             U.S. District Judge
8

9    adams.ord
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28   * Permission to sign granted telephonically.

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